Case 1:17-cv-24444-UU Document 104 Entered on FLSD Docket 03/13/2018 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cv-24444-UU

  CENTER FOR BIOLOGICAL DIVERSITY, et al.,

         Plaintiffs,

  v.

  RYAN ZINKE, et al.,

        Defendants.
  ______________________________________/

                                            JUDGMENT

         THIS CAUSE comes before the Court upon Plaintiff’s Motion for Preliminary Injunction

  (D.E. 4) and the Court’s Order denying that motion entered concurrently with this Judgment.

  Pursuant to Federal Rule of Civil Procedure 54 and 58(a), and 28 U.S.C. § 1292(a)(1), the Court

  now enters this separate judgment. It is hereby,

         ORDERED AND ADJUDGED that Judgment is entered in favor of Defendants.

         DONE AND ORDERED in Chambers at Miami, Florida, this 13th day of March, 2018.




                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE


  cc:
  counsel of record via cm/ecf
